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                          ** NOT FOR PRINTED PUBLICATION **

                         IN THE UNITED STATES DISTRICT COURT

                          FOR THE EASTERN DISTRICT OF TEXAS

                                       LUFKIN DIVISION

COREY DION GOODWIN                               §

VS.                                              §                CIVIL ACTION NO. 9:20cv171

BRYAN COLLIER, ET AL.                            §

                         ORDER ACCEPTING THE MAGISTRATE
                       JUDGE’S REPORT AND RECOMMENDATION
       Plaintiff Corey Dion Goodwin, an inmate at the Polunsky Unit, proceeding pro se, brought

the above-styled lawsuit pursuant to 42 U.S.C. § 1983.

       The court referred this matter to the Honorable Keith F. Giblin, United States Magistrate

Judge, for consideration pursuant to applicable laws and orders of this court. The Magistrate Judge

recommends this action be dismissed.

       The court has received and considered the Report and Recommendation of United States

Magistrate Judge filed pursuant to such referral, along with the record and pleadings. No objections

to the Report and Recommendation of United States Magistrate Judge were filed by the parties.

                                            ORDER

       Accordingly, the findings of fact and conclusions of law of the Magistrate Judge are correct

and the report of the Magistrate Judge is ACCEPTED. A final judgment will be entered in this case

in accordance with the Magistrate Judge’s recommendations.

              So ORDERED and SIGNED, Sep 21, 2020.


                                                                 ____________________
                                                                 Ron Clark
                                                                 Senior Judge
